  Case 2:17-bk-57670                              Doc 45              Filed 10/11/19 Entered 10/18/19 10:00:32                                                   Desc Main
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 Fill in this information to identify the case:


 Debtor 1            Jordan M Patrick

 Debtor2             Sarah E Patrick
 (Spouse,
        If filing)


 United States Bankruptcy Court for the Southern District of Ohio


 Case number          2:17-bk-57670




Official Form 41 OS 1

Notice of Mortgage Payment Change                                                                                                                                              12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least                    21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor:
                             us Bank Trust Natrona/ AssocratiOn, as Trustee of the Bungalow Senes Ill Trust
                                                                                                                Court claim no. (if known): ....:5'---                  -----
 Last 4 digits of any number you use to                                                                         Date of payment change:
 identify the debtor's account:                                       9          9        5       9             Must be at least   21 days after date         11/01/2019
                                                                                                                of this notice



                                                                                                                New total payment:                            $ ---'-'1   ,_49_,:6_.1_;.
                                                                                                                                                                                      9.
                                                                                                                Principal, interest, and escrow, if any


.,,, Escrow Account Payment Adjustment
 1.   Will there be a change in the debtor's escrow account payment?

      0      No
      lil'
                                                                                                                -------
             Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                    the basis for the change. If a statement is not attached, explain why:




                     Current escrow payment:             $   ____
                                                                          2_59  _ 7_
                                                                             _ _.4                            New escrow payment:          $   __   1�0      .3..c:..
                                                                                                                                                      , �2�3..c..: 3


                  Mortgage Payment Adjustment

 2.   Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?

      fH'    No


                                                -----
      0      Yes.   Attach a copy of the rate change notice prepared in a form                     consistent with applicable nonbankruptcy law. If a notice is not
                    attached, explain why:



                    Current interest rate:      _______                              %                        New interest rate:           _______                %

                                                  -------
                    Current principal and interest payment:                  $                                New principal and interest payment:         $   _____




                  Other Payment Change

 3.   Will there be a change in the debtor's mortgage payment for a reason not listed above?

      S      No
      0      Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                    (Court approval may be required before the payment change can take effect.)

                     Reason fur change:      -------
                     Current mortgage payment:-------      $   _______                                        New mortgage payment:        $


Official Form 410S1                                                         Notice of Mortgage Payment Change                                                                page     1
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Debtor   1        Jordan                  M                   Patrick                                   Case number Utknown)   2 : 1 7-bk- 57670
                   FirS! Name          Middle Name               last Name




.,,,             Sign Here


 The person completing this Notice must sign it Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.

      0       I am the cr editor   .
      !!:�'   I am the creditor's authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



    XtSI Michelle R. Ghidotti-Gonsalves                                                                 Date    10/10/2019
     Signature




 Print:               Michelle                              R.               Ghidotti-Gonsalves         Title Authorized Agent for Secured Creditor
                      F1rst Name                          Middle Name            Last Name




 Company              Ghidotti-Berger, LLP.



 Address              1920 Old Tustin Avenue
                      Number                     Street


                      Santa Ana                                                CA        92705
                      City                                                       State       ZIP Code




 Contact phone        949-427-2010                                                                      Email   mghidotti@ghidottiberger.com
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                                                                                                                Annual Escrow Account
                                                                                                                 Disclosure Statement
        314 S. Franklin Street,   Jod Elgm
        P.O. Box 517
        Titusville, PA 16354
        1-800-327-7861
                                                                                          ACCOUNT NUMBER:            -
        https://myloanweb.com/BSI
                                                                           -
                                                                                           DATE: 09/28/19


                                                      -
                  JORDAN M PATRICK                                                         PROPERTY ADDRESS
                  PO BOX 7
                                                                                           27 W 2ND ST
                  KINGSTON, OH 45644

                                                                   II
                                                                                           KINGSTON, OH 45644




    PLEASE REVIEW THIS STATEMENT CLOSELY- YOUR MORTGAGE PAYMENT MAY BE AFFECTED. THIS STATEMENT TELLS
    YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR ANY SHORTAGE YOU MUST PAY.
    IT ALSO SHOWS YOU THE ANTICIPATED ESCROW ACTIVITY FOR YOUR ESCROW CYCLE BEGINNING 11/01/2019
    THROUGH 10/31/2020.

                 ········ANTICIPATED PAYMENTS FROM ESCROW 11/01/2019 TO 10/31/2020 ······-·
    HOMEOWNERS         INS                                                                            $2,095.00
    COUNTY TAX                                                                                        $4,329.56
    TOTAL        PAYMENTS      FROM    ESCROW                                                         $6,424.56
    MONTHLY        PAYMENT        TO ESCROW                                                             $535.38
                      ······ANTICIPATED ESCROW ACTIVITY 11/01/2019 TO 10/31/2020                                  •••••••••




                       ANTICIPATED PAYMENTS                                                              ESCROW BALANCE COMPARISON
                  TO ESCROW              FROM ESCROW                  DESCRIPTION                 ANTICIPATED                    REQUIRED

                                                               STARTING BALANCE -->                  $2,643.14-                      $3,212.28
    NOV               $535.38                                                                        $2,107.76-                      $3,747.66
    DEC               $535.38                   $2,164.78 COUNTY TAX                                 $3,737.16-                      $2,118.26
    JAN               $535.38                                                                        $3,201.78-                      $2,653.64
    FEB               $535.38                                                                        $2,666.40-                      $3,189.02
    MAR               $535.38                                                                        $2,131.02-                      $3,724.40
    APR               $535.38                                                                        $1,595.64-                      $4,259.78
    MAY               $535.38                   $2,095.00 HOMEOWNERS            INS                  $3,155.26-                      $2,700.16
    JUN               $535.38                   $2,164.78 COUNTY TAX                         L1->    $4,784.66-               L2->   $1,070.76
    JUL               $535.38                                                                        $4,249.28-                      $1,606.14
    AUG               $535.38                                                                        $3,713.90-                      $2,141.52
    SEP               $535.38                                                                        $3,178.52-                      $2,676.90
    OCT               $535.38                                                                        $2,643.14-                      $3,212.28

                        --------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE --------
    IF THE ANTICIPATED LOW POINT BALANCE (Ll) IS LESS THAN THE REQUIRED BALANCE (L2), THEN YOU HAVE AN
    ESCROW SHORTAGE. YOUR ESCROW SHORTAGE IS                       $5,855.42.

    I                                               CALCULATION OF YOUR NEW PAYMENT

    PRIN     &   INTEREST                                                                         $472.86
    ESCROW PAYMENT                                                                                $535.38
    SHORTAGE       PYMT                                                                           $487.95
    NEW PAYMENT EFFECTIVE 11/01/2019                                                         $1,496.19
    YOUR ESCROW        CUSHION      FOR THIS CYCLE           IS   $1,070.76.




                                               **********Continued on reverse side****"***"'***


                                                                                               Escrow Payment Options
                                                                                      I understand that my taxes and/or insurance has increased and that
                                                                                      my escrow account is short $5,855.42. I have enclosed a check for:


                                                                                           Option 1: $5,855.42, the total shortage amoun t. I understand
   Loan Number:                                                                       D    that if this is received by 11/01/2019 my monthly mortgage
   Statement Dat e:               09/28/19                                                 payment will be $1,008.24 starting 11/01/2019.
   Escrow Shortage:                $5,855.42
                                                                                           Option 2: S                  , part of the shortage. I understand
                                                                                      D    that the rest of the shortage will be divided evenly and added
           Important: Please return this coupon with your check.                           to my mortgage payment each month.

                                                                                            Option 3: You do not need to do anythi ng if you want to
                                                                                      D    have all of your shortage divided evenly among the next
              BSI FINANCIAL SERVICES                                                       12 months.

              314 S. Franklin Street, 2nd Floor                                       Please make you check payable to: BSI FINANCIAL SERVICES and
              P.O. Box 517                                                            please include your loan number   on your check.
              Titusville. PA 16354



   Licensed as Servis One, Inc. dba BSI Financial Services. BSI Financial Services NMLS# 38078. Colorado Office Location: 7200 S. Alton Way, Ste.
   B180, Centennial, CO 80112 (303) 309-3839. Licensed as a Debt Collection Agency by the New York City Department of Consumer Affairs.(#
   2001485-DCA). North Carolina C ollection Agency Permit(# 105608).
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                                                                            **********     Continued from fro nt                                **********




                                                                                                   ACCOUNT HISTORY
     THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE ACTUAL
     ESCROW ACTIVITY BEGINNING 11/01/2018 AND ENDING 10/31/2019. IF YOUR LOAN WAS PAID-OFF, ASSUMED OR
     TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS BEGING CHANGED, ACTUAL ACTIVITY STOPS AT
     THAT POINT. THIS STATEMENT IS INFORMATION ONLY AND REQUIRES NO ACTION ON YOUR PART.

      YOUR PAYMENT BREAKDOWN AS OF 11/01/2018 IS:

      PRIN        &    INTEREST                                                                                                                       $472.86
      ESCROW          PAYMENT                                                                                                                         $259.47
      BORROWER PAYMENT                                                                                                                                $732.33


                                                                                                                                                                                                                              ]
                                                                                      PAYMENTS FROM ESCROW                                                                     ESCROW BALANCE
                                                                                 PRIOR PROJECTED                      ACTUAL                       DESCRIPTION                PRIOR PROJECTED                     ACTUAl

                                                                                                                                             STARTfNG BALA:-JCE                               $0. 00                $6' 634      .   C7 -
      NOV                     $0.   DO                 $518            34    *
                                                                                                                                                                           T- >               $0. DO                $6,115. 73-

      DEC                     $0. 00                   $259        .   17    *
                                                                                                                                                                                              $0. co                $5,856 .S6-

      JAN                     $0 . 0 0                 $5l8 . 34             *
                                                                                                                    $2' l64 78           *
                                                                                                                                             COL'NTY TAX                                      $0.    co             $"1'   503       00-

      FEB                     $0 .0 0                  $259 . 17             *
                                                                                                                                                                                              $0 .   00             $7,243           83-

     MAR                      $0 00                     $259       .1 7      *
                                                                                                                                                                                              $0     00             $6,984           66-

      APR                     $0    DO                 $259. l'l
                                                                             *
                                                                                                                                                                                              $0. DO                $6,"125          49-

      I'.AY                   $0. 00               $1,295 . 85               *
                                                                                                                    $2,095         00    *
                                                                                                                                             HOMEOWNERS INS                                   $0 .   DO              $7,524. 64-

      L::UN                   o;o 00                    $259. 17             *
                                                                                                                    $2,012         79    *
                                                                                                                                             COCNTY TAX                                       $0     DO    A->      $9,278 26-

      �UL                     >;D. DO                   $518 . 34            *
                                                                                                                                                                                              $0.    00             $8, 7 5 9    .   92-
      AUG                     ;;a .DC                   $260. 37             *
                                                                                                                                                                                              $0.    DO             $8,498. �5-

      S:SP                   ;;o oc                     $518. 94             *
                                                                                                                                                                                              $0. 00                $7,980           ·-
                      - - -------                ---------
                              $0.00                $4,926.63                                $0.00                   $6,272.57


      UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHED THE LOWEST POINT, THAT BALANCE WAS
      TARGETED NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE
      LAW MAY SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.

      UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT BALANCE (T) WAS
      $0.00. YOUR ACTUAL LOW POINT ESCROW BALANCE (A) WAS $9,278.26-.

      BY COMPARING THE ANTICIPATED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN DETERMINE
      WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK(*) INDICATES A DIFFERENCE IN EITHER THE AMOUNT OR
      DATE OF THE PROJECTED ACTIVITY THAT HAS NOT YET OCCURRED DUE TO THE DATE OF THIS STATEMENT.

      IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION TO WHICH THE
      ACTUAL ACTIVITY COULD BE COMPARED.


     Determining your Shortage or Surplus
     Shortage:
     Any shortage in your escrow account is usually caused by one the following items:
      • An increase, if any, in what was paid for insurance and/or taxes from your escrow account.
      • A projected increase in taxes for the upcoming year.
      • The number of months elapsed from the time of these disbursements to the new payment effective date.

     Shortages are divided evenly of the next twelve months. To reduce the increase in your monthly payment, the
     shortage can be paid either partially or in full.
     Surplus:
     A surplus in your escrow account is usually caused by one the following items:
       • The insurance/taxes paid during the past year were lower than projected.
       • A refund was received from the taxing authority or insurance carrier.
       • Additional funds were applied to your escrow account.

     If your surplus is $50.00 or greater and your loan was contractually current at the time when the analysis was
     run or calculated, a check will be sent to you. If your surplus is less than $50.00, the funds will be retained in
     your escrow account.




   If you have filed a bankruptcy petrtron and there rs erther an "automatrc stay" rn effect rn your bankruptcy case        or                                                            the obligation identrfied rn this letter, we
                                                                                                                                 you have recerv� a drscharge of your personal habrlity for
   may not and do not rntend to pursue collectron of   Ill at   oblrgatron from you personally   If these   wcumstances apply, this notrce js not and should not   be construed to be a demand for payment from you personally
   Unless the Bankruptcy Court has ordered otherwise. please also note that desprte any such bankruptcy frling, whatever nghts we hold rn the property that secures the obligatron remarn              Unimpaired
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                                      CERTIFICATE OF SERVICE

          On October 10, 2019, I served the foregoing documents described as Notice of Mortgage
  Payment Change on the following individuals by electronic means through the Court's ECF program:

          COUNSEL FOR DEBTOR
          Claire Ripley Fried
          melinda@clairecanhelp.com



          I declare under penalty of perjury under the laws of the United States of America that the
  foregoing is true and correct.
                                                           Is! Kasra Sadjadi
                                                           Kasra Sadjadi

                                                                           --




          On October I 0, 2019, I served the foregoing documents described as Notice of Mortgage
  Payment Change on the following individuals by depositing true copies thereof in the United States mail
  at Santa Ana, California enclosed in a sealed envelope, with postage paid, addressed as follows:




   DEBTOR                                               TRUSTEE

   Jordan M Patrick                                     Faye D. English

   P.O. Box 7                                           Chapter 13 Trustee

   Kingston, OH 45644                                   10 West Broad Street Suite 900

                                                        Columbus, OH 432 15-3449

   JOINT DEBTOR

   Sarah E Patrick                                      U.S. Trustee

   P.O. Box 7                                           Asst US Trustee (Col)

   Kingston, OH 45644                                   Office of the US Trustee

                                                        170 North High Street

                                                        Suite 200

                                                        Columbus, OH 43215



          I declare under penalty of perjury under the laws of the United States of America that the
  foregoing is true and correct.

                                                           Is/ Kasra Sadjadi
                                                           Kasra Sadjadi
